 Fill in this information to identify your case:

 Debtor 1                 Nicholas James Koleas
                          First Name                        Middle Name           Last Name

 Debtor 2                 Victoria Janice Koleas
 (Spouse if, filing)      First Name                        Middle Name           Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF WISCONSIN

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing



Official Form Plan for the
Eastern District of Wisconsin
Chapter 13 Plan                                                                                                                                 10/17


 Part 1:        Notices

To Debtors:               This form sets out options that may be appropriate in some cases, but the presence of an option on the form
                          does not mean that the option is necessarily appropriate for you. Plans that do not comply with local rules
                          and judicial rulings may not be confirmable. Nothing in this plan controls over a contrary court order.

                          THIS FORM PLAN MAY NOT BE ALTERED OTHER THAN THE NONSTANDARD PROVISIONS IN PART 8
                          BELOW.
                          Nonstandard provisions set out elsewhere in this plan are ineffective.

                          In the following notice to creditors, you must check each box that applies.

To Creditors:             Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                          You should read this plan carefully and discuss it with your attorney. If you do not have an attorney, you may wish to
                          consult one.

                          If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an
                          objection to confirmation. The objection must be filed within 28 days of the completion of the Section 341 Meeting of
                          Creditors. Failure to file a timely objection constitutes acceptance of the plan and its terms. The court will schedule a
                          hearing on any timely filed objections. The court may confirm this plan without further notice if no objection is filed. In
                          addition, a timely proof of claim must be filed in order to receive payments from the trustee under this plan.

                          Note to Secured Creditors: If your secured claim is not provided for in Part 3 below, no funds will be disbursed to
                          you by the trustee on your secured claim.

                          The following matters may be of particular importance. Debtors must check one box on each line to state whether
                          or not the plan includes each of the following items. If an item is checked as “Not included” or if both boxes
                          are checked, the provision will be ineffective even if otherwise provided for in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may                  Included                  Not Included
              result in a partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security                    Included                  Not Included
              interest, set out in Section 3.4
 1.3          Nonstandard provisions, set out in Part 8                                                    Included                  Not Included


 Part 2:        Plan Payments and Length of Plan

2.1 Debtor(s) will make regular payments to the trustee as follows:

         $1,488.00 per Month for 60 months
       Insert additional lines if needed.

       The plan may not provide for payments over a period that is longer than 60 months.



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      For OVER median income debtors, the plan must be 60 months or a shorter period that is sufficient to pay allowed nonpriority
      unsecured claims in full.

      For UNDER median income debtors, the debtor(s) must make sufficient periodic or other payments to enable the trustee to make
      the payments to creditors stated in this plan, regardless of the number of months indicated in this part of the plan. Thirty-six or
      more months after confirmation, the plan’s term will end when all holders of allowed nonpriority unsecured claims have received the
      payment amount or percentage stated in Part 5. Prior to 36 months after confirmation, the plan term will end when all holders of
      allowed claims have received the payment required by the plan and holders of nonpriority unsecured claims have been paid in full.
      The plan term will not end earlier than stated in this Part 2 if there is a creditor listed in § 4.5 of this plan that will receive less than
      full payment of its claim under 11 U.S.C. §§ 1322(a)(4) and 507(a)(1)(B).

2.2 Regular payments to the trustee will be made from future income in the following manner:

      Check all that apply:
              Debtor(s) will make payments pursuant to a payroll deduction order.
              Debtor(s) will make payments directly to the trustee.

      Please note: Debtors are responsible for any payments set forth in the plan or confirmation order that are not withheld under a
      payroll deduction order.

2.3 Income tax refunds.

      The debtor(s) will supply the trustee with a copy of each federal and state income tax return filed during the plan term within 14
      days of filing any return. The tax refunds received by the debtor(s) must be accounted for on Schedules I and J and, if applicable,
      Form 22-C-2.

2.4 Additional payments.
    Check one.
            None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $ 89,280.00 .


 Part 3:     Treatment of Secured Claims

3.1 Maintenance of payments and cure of default, if any.

      Check one.
             None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
             The debtor(s) will maintain payments during the case on the secured claims listed below by paying the claimant directly.
             For allowed secured claims provided for in the plan, the trustee will disburse payments on any arrearage sufficient to pay
             the arrearage in full, with interest, if any, at the stated rate. If the Interest rate on arrearage column is left blank, no
             interest will be paid. The trustee will disburse payment on any arrearage listed on a proof of claim filed before the filing
             deadline under Bankruptcy Rule 3002(c) or 3004, and amounts so listed control over any contrary amounts stated below
             as to the current installment payment and arrearage. The trustee will disburse amounts listed in the Monthly plan
             payment on arrearage column each month. If no amount is listed in the Monthly plan payment on arrearage column, the
             trustee will disburse payments to the creditors listed in this Part pro rata with other secured creditors that do not receive
             equal monthly payments. If a secured creditor obtains relief from the automatic stay as to collateral listed in this section,
             the trustee will cease payments to that creditor, and the plan will be deemed not to provide for secured claims based on
             that collateral.

              The final column includes only payments disbursed by the trustee rather than by the debtor(s).
 Name of Creditor Collateral                  Current installment        Amount of Interest rate          Monthly plan                   Estimated
                                                        payment -        arrearage - on arrearage            payment on                        total
                                                     Disbursed by     Disbursed by (if applicable)             arrearage                 payments
                                                            Debtor Trustee (if any)                                                      by trustee
                                                (including escrow)
                       234 North 10th
 Shellpoint            Avenue West Bend,
 Mortgage              WI 53095                                    Prepetition:
 Servicing             Washington County               $1,062.00       $30,617.61           0.00%                                       $30,617.61
Insert additional claims as needed.

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3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

                  None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

3.3 Secured claims excluded from 11 U.S.C. § 506.

      Check one.
             None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
             The claims listed below were either:

                  (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor
                      vehicle acquired for the personal use of the debtor(s), or

                  (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of
                      value.

                  These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed by
                  the trustee. The claim amount stated on a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) or
                  3004 controls over any contrary amount listed below.

                  If no entry is made in the Interest rate column, the proof of claim controls the rate of interest. If no interest rate is listed in
                  the plan or proof of claim, no interest will be disbursed by the trustee. The trustee will disburse amounts listed under the
                  Monthly plan payment column in equal monthly payments. If no amount is listed in Monthly plan payment column, the
                  trustee will disburse payments pro rata with other creditors of the same class. If the court orders relief from the automatic
                  stay as to any item of collateral listed in this paragraph, the trustee will cease disbursement of all payments under this
                  paragraph as to that collateral, and the plan will be deemed not to provide for all secured claims based on that collateral.

                  The holder of any claim listed below as having value in the Amount of claim column will retain the lien on the property
                  interest of the debtor(s) or the estate(s) until the earlier of:

                  (a) payment of the underlying debt determined under nonbankruptcy law, or

                  (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the
                      creditor.

 Name of Creditor                Collateral                          Amount of claim     Interest rate    Monthly plan Estimated total
                                                                                                          payment      payments by trustee
 Vehicle Finance                 2006 Chevrolet Impala
 Services                        85001 miles                                $7,101.75           6.00%                                        $7,773.89

Insert additional claims as needed.

3.4 Lien avoidance.

Check one.
                        None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5 Surrender of collateral.

            Check one.
               None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

3.6 Pre-confirmation adequate protection payments.

      Check one.
             None. If “None” is checked, the rest of § 3.6 need not be completed or reproduced.
              Secured creditors who are entitled to pre-confirmation adequate protection payments on personal property under 11
              U.S.C. § 1326(a) must file a claim to receive such payments. Upon confirmation, the treatment of secured claims will be
              governed by the applicable paragraph above. The principal amount of the claim will be reduced by the amount of
              adequate protection payments disbursed by the trustee. The trustee will make the following monthly disbursements to
              creditors:

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                                                                                                              Monthly adequate protection
 Name of creditor                                        Collateral                                           payment amount
 Vehicle Finance Services                                2006 Chevrolet Impala 85001 miles                    $50.00

Insert additional claims as needed.

 Part 4:     Treatment of Priority Claims (including Attorney’s Fees and Domestic Support Obligations)

4.1 General
    Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in
    full without post-petition interest unless otherwise provided in the plan.

4.2 Trustee’s fees
    Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 10.00% of plan
    payments; and during the plan term, they are estimated to total $8,116.20.

4.3 Attorney's fees.

      The balance of the fees owed to the attorney for the debtor(s) is estimated to be $4,480.00.

4.4 Priority claims other than attorney’s fees and domestic support obligations as treated in § 4.5. The priority debt amounts
     listed on a filed proof of claim control over any contrary information or amounts listed in this section. Check one.
               None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.
               The debtor(s) estimate the total amount of other priority claims to be $38,291.23 as detailed below.
 Name of Creditor                                                                      Estimated amount of priority unsecured claim
 Internal Revenue Service                                                                                                  $27,667.26
 Wisconsin Department of Revenue                                                                                           $10,623.97
     Insert additional claims as needed.

4.5 Domestic support obligations. The priority debt amounts listed on a filed proof of claim control over any contrary amounts listed
    in this section.

      Check one or more.

                  None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:     Treatment of Nonpriority Unsecured Claims

5.1 Nonpriority unsecured claims not separately classified.

      Allowed nonpriority unsecured claims that are not separately classified will be paid pro rata. If more than one option is checked, the
      option providing the largest payment will be effective. Check all that apply.
              The sum of $
                  0 % of the total amount of these claims, an estimated payment of $ 0.00
              If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately
              $ 0.00 . Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at
              least this amount.

5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                  None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3 Other separately classified nonpriority unsecured claims. Check one.

                  None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

 Part 6:     Executory Contracts, Unexpired Leases, and Post-Petition Claims Filed Under § 1305



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6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other
    executory contracts and unexpired leases are rejected. Check one.

                  None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



6.2 Post-petition claims filed under 11 U.S.C. § 1305. Check one.

         If any post-petition claims are filed under 11 U.S.C. § 1305 during the term of this plan, the trustee will disburse no funds on any
      that claim.

          If any post-petition claims are filed under 11 U.S.C. § 1305 during the term of this plan, the trustee will disburse funds on the
      claim. Debtor(s) will modify the plan if necessary to maintain plan feasibility.

 Part 7:     Vesting of Property of the Estate and Order of Distribution of Available Funds by the Trustee

7.1 Property of the estate will vest in the debtor(s) upon

      Check the applicable box:

               plan confirmation.
               entry of discharge (unless a debtor is not eligible for a discharge, in which case property of the estate will vest in the
               debtor(s) upon the filing of the Notice of Plan Completion on the docket by the trustee).
               other:

7.2 Order of distribution of available funds by the trustee after plan confirmation.

      Regular order of disbursement after trustee fees:

            Any equal monthly payments to secured creditors listed in Part 3, then

            all attorney’s fees listed in § 4.3, then

            all secured debt (paid pro rata) without equal monthly payments in Part 3 and lease arrearages in § 6.1, then

            all priority debt (paid pro rata) under § 1322(a)(2) in §§ 4.4 and 4.5, then

            all priority debt (paid pro rata) under § 1322(a)(4) in § 4.5, then

            all non-priority unsecured debt (paid pro rata) in Part 5, then

            any § 1305 claims in § 6.2.

Should the case be dismissed or converted to another chapter, the trustee will refund all funds on hand to the debtor(s).




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 Part 8:     Nonstandard Plan Provisions

8.1         Check "None" or List Nonstandard Plan Provisions
                   None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise
included in the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.
 Post Petition Notice of fees, expenses, and charges filed pursuant to Federal Rules of Bankruptcy Procedure 3002.1(c) shall be
 treated as supplemental proofs of claim and be paid pro rata through the plan at the same time as other secured creditors, unless
 objected to and the amount is set by or disallowed by the court. No such claims will be paid where the debtor has provided for the lien
 to be avoided or for the property to be surrendered by this plan.

 Creditors with secured claims shall retain their mortgage, lien or security interest in collateral until the earlier of (a) the payment in full
 of the secured portion of their proof of claim, or (b) discharge under 11 U.S.C. § 1328.

 Debtor shall provide to the estate the full unexempt portion of the net proceeds received by the debtor from the potential small claims
 case listed in Schedule B received during the plan. Net proceeds means any settlement or judgment funds, less compensation and
 reimbursement awarded under section 11 USC § 330(a), as provided for by the small claims counsel's contingency fee arrangement
 and will be paid outside the chapter 13 plan.


 Part 9:     Signatures:

9.1      Signatures of Debtor(s) and Debtor(s)’ Attorney
If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney
for the Debtor(s), if any, must sign below.

 X     /s/ Nicholas James Koleas                                         X   /s/ Victoria Janice Koleas
       Nicholas James Koleas                                                 Victoria Janice Koleas
       Signature of Debtor 1                                                 Signature of Debtor 2

       Executed on January 17, 2019                                          Executed on January 17, 2019

 X     /s/ Michael J. Watton                                             Date January 17, 2019
       Michael J. Watton
       Signature of attorney for Debtor(s)

By filing this document, each debtor, if not represented by an attorney, or the attorney for each debtor also certifies that the
wording and order of the provisions in this Chapter 13 plan are identical to those contained in the Official Form Plan for the
Eastern District of Wisconsin, other than any nonstandard provisions included in Part 8.




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                                        Exhibit: Total Amount of Estimated Trustee Payments
The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts
set out below and the actual plan terms, the plan terms control.

 a.    Maintenance and cure payments on secured claims (Part 3, Section 3.1 total):                                             $30,617.61

 b.    Modified secured claims (Part 3, Section 3.2 total):                                                                             $0.00

 c.    Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total):                                                  $7,773.89

 d.    Judicial liens or security interests partially avoided (Part 3, Section 3.4 total):                                              $0.00

 e.    Fees and priority claims (Part 4, total):                                                                                $38,291.23
 f.    Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount):                                                    $0.00

 g.    Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                                                    $0.00

 h.    Separately classified unsecured claims (Part 5, Section 5.3 total)                                                               $0.00

 i.    Trustee payments on executory contracts and unexpired leases (Part 6, total)                                                     $0.00

 j.    Nonstandard payments (Part 8, total)                                                             +                               $0.00


 Total of lines a through j                                                                                                     $38,391.50




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